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            IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MONTANA
                       BUTTE DIVISION

JOHN RENNER,                              Case No.: CV-21-30-BU-BMM

                             Plaintiff,

v.                                        DEFENDANTS’ OPPOSITION
                                          TO PLAINTIFF’S MOTION TO
MICHAEL POLISH, BRING                             COMPEL
ON THE DANCING HORSES,
LLC, a Montana Limited
Liability Company, and MAKE
PICTURES, LLC, a California
Limited Liability Company,

                         Defendants.


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      Defendants, Michael Polish, Bring on the Dancing Horses, LLC

(“BOTDH”), and Make Pictures, LLC (collectively, “Defendants”), by

and through their undersigned counsel, Matthew A. McKeon of the law

firm of Datsopoulos, MacDonald & Lind, P.C., and David B. Jonelis of

the law firm of Lavely & Singer, P.C., hereby submit this Brief in

Opposition to the Motion to Compel Discovery [Dkt. 35] filed by Plaintiff

John Renner (“Plaintiff”). As set forth herein, Defendants have

complied with both the letter and intent of the discovery rules, and thus

no basis exists to compel any further responses. Accordingly,

Defendants respectfully request that the Court deny Plaintiff’s motion

and award Defendants sanctions pursuant to Federal Rule of Civil

Procedure 37(a)(5).

                             INTRODUCTION

      Frankly, Plaintiff’s Motion to Compel is nothing more than a

meritless, make-work exercise, and simply underscores the bad faith

intent of this entire action – which is to harass Defendants and drive-up

their litigation costs in the hope of obtaining a “cost of defense”

settlement. Indeed, the very core premise of this case – that Plaintiff

was somehow damaged to the tune of hundreds of thousands of dollars



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simply because he was pushed away in self-defense after threatening to

pull a gun on Defendant Michael Polish – is outrageous, and is easily

refutable by the actual evidence here (including the testimony of those

who actually witnessed the subject altercation).

          To be clear, this is not a complex case by any stretch of the

imagination. Rather, as set forth in Plaintiff’s operative complaint, this

case concerns a “he said, he said” dispute over what happened during a

brief altercation between Plaintiff and Mr. Polish (lasting no more than

a few minutes), as well as a dispute over whether Plaintiff was

improperly terminated by the entity Defendants in the wake of the

altercation. Nothing more.

          Commensurate with the simplicity of this case, the universe of

relevant information is extremely small, and there are only a handful of

documents that exist concerning the subject events. Indeed, in response

to Defendants’ discovery requests seeking all of Plaintiff’s documents

related to this case, Plaintiff produced less than 20 documents in total.1

The size of Plaintiff’s production was unsurprising, given that the

majority of the relevant information concerning this dispute will be



1   A copy of Plaintiff’s entire document production is attached hereto as Exhibit “A.”


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based on the oral testimony of the few individuals who actually

witnessed the subject events. Those individuals are scheduled to be

deposed in person during the first week of November 2021.

          Although Defendants adamantly deny the allegations in Plaintiff’s

Complaint, they nonetheless recognize that they have a statutory

obligation to provide Plaintiff, through discovery, with all of their non-

privileged documents and information relevant to this case.

Consequently, in response to Plaintiff’s 99 (yes, 99) discovery requests

(many of which were poorly or confusingly worded, or which sought

documents wholly irrelevant to the allegations in Plaintiff’s

Complaint) 2, Defendants provided fulsome substantive responses and

produced all of their responsive documents relevant to this case (14 in

total, commensurate with the size of Plaintiff’s production).3 Further,

to the extent that the form or substance of Plaintiff’s requests was

objectionable, Defendants also asserted appropriate objections.

          As the Court can readily confirm for itself by reviewing

Defendants’ responses, Defendants complied both with the language

and intent of the relevant discovery rules – namely, Federal Rules of
2 In stark contrast, Defendants collectively propounded a total of 11 narrowly-tailored discovery

requests on Plaintiff.
3   A copy of Defendants’ entire document production is attached hereto as Exhibit “B.”


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Civil Procedure 33 and 34, as well as Local Rule 26.3. Specifically, to

the extent that Plaintiff requested information “relevant to any party's

claim or defense and proportional to the needs of the case” (i.e., within

the permissible scope of Rule 26), Defendants provided that

information. To the extent that information could most appropriately

be relayed in the form of a substantive written response (e.g., in

response to Plaintiff’s interrogatory seeking “each fact known to you

regarding the October 21, 2020, physical altercation”), Defendants

provided such a written response. And to the extent that information

could more appropriately be provided through documentary evidence

(e.g., in response to Plaintiff’s interrogatory seeking “an itemization of

all money paid to [Plaintiff]”), Defendants produced such documentary

evidence.

      Irrespective of whether provided in narrative or documentary

form, Defendants’ responses to Plaintiff’s discovery should have

sufficiently apprised Plaintiff of the full scope of Defendants’

information and documents concerning of the facts relevant to this case

– which is the very purpose of discovery. See N. Pac. Ins. Co. v. Stucky,

2013 WL 12134040, at *2 (D. Mont. Dec. 17, 2013) (“The purpose of



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discovery is to remove surprise from trial preparation so the parties can

obtain evidence necessary to evaluate and resolve their dispute.”). And

to the extent that Plaintiff wanted further clarification from Defendants

concerning their responses, Plaintiff was already given the unfettered

opportunity to do so by way of the parties’ upcoming depositions in

November.

      Nonetheless, Plaintiff has now come before this Court claiming

that Defendants’ discovery responses were somehow deficient, and that

Plaintiff should be awarded sanctions as a result. And on what basis

does Plaintiff burden this Court with such a bold proposition?

Apparently, when Plaintiff asked Defendants to identify all witness

statements that they had obtained concerning the subject events, it was

not sufficient for Defendants to simply produce those statements as part

of their document production. Rather, Plaintiff contends that

Defendants should have summarized the content of those statements in

“narrative” form – even though Plaintiff could simply look at the

statements themselves to ascertain the content thereof. See, e.g.,

Motion at p. 4. And when Plaintiff asked Defendants to produce their

documents related to the subject events in this case, Plaintiff contends



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it was not sufficient for Defendants to simply produce those documents.

Rather, Plaintiff absurdly contends that Defendants should have

pointed out, by Bates-number, which of the 14 documents produced

pertained to which of Plaintiff’s numerous document requests – even

though the documents speak for themselves. See, e.g., Motion at p. 15.

These are the types of nonsense and time-wasting arguments raised in

Plaintiff’s motion, none of which are grounded in any bona fide legal

support.

      As set forth herein, Defendants have complied with their

discovery obligations, no basis exists to compel further responses, and

Plaintiff should be thus ordered to reimburse Defendants for their cost

in opposing Plaintiff’s Motion. Hopefully the Court will see through

Plaintiff’s charade and view the Motion for what it is: make-work.

       BOTDH PROPERLY RESPONDED TO PLAINTIFF’S
            FIRST SET OF INTERROGATORIES

      In his motion, Plaintiff takes issue with BOTDH’s responses to

eight of Plaintiff’s interrogatories. The sufficiency of those responses is

addressed below:




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          Interrogatories Nos. 2, 4, and 15

          Interrogatory No. 2 asked BOTDH to “state the name and address

of each person having knowledge of relevant facts related to the

allegations of the Complaint in this suit, the cause thereof, or the

damages allegedly resulting therefrom.” This is effectively the exact

same information that Defendants had already set forth in their initial

disclosures, as required pursuant to Federal Rule of Civil Procedure

26(a)(1)(A). 4 Accordingly, in the interest of efficiency and pragmatics,

BOTDH simply pointed Plaintiff to Defendants’ prior disclosures,

writing: “all information responsive to this interrogatory was already

disclosed in section i. of Defendants’ June 10, 2021 Initial Disclosures.”

          Interrogatory No. 4 asked BOTDH to “state whether or not you

have obtained a statement, oral, recorded or written, which any

individual has previously made concerning this action or its subject

matter and the date it was obtained and provide a detailed description

of the contents of the statement.” Again, in the interest of efficiency

and pragmatics, BOTDH simply agreed to provide Plaintiff with the

actual witness statements it had obtained, writing: “BOTDH will



4   A copy of Defendants’ June 10, 2021 Initial Disclosures is attached hereto as Exhibit “C.”


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produce any non-privileged written statements in its possession,

custody, or control concerning the events at issue in this suit.” And

those statements were in fact included in the documents produced by

Defendants. 5

          Interrogatory No. 15 asked BOTDH to provide “an itemization of

all money paid to [Plaintiff] by BOTDH, including, but not limited to,

wages, per diem, and cost reimbursements.” Stated otherwise, this

interrogatory sought an accounting of what Plaintiff had been paid by

BOTDH. Again, because that information had already been separately

documented by BOTDH, it simply responded by offering to “produce

documents sufficient to determine all money paid to John Renner in

connection with the project entitled Bring On The Dancing Horses.”

And those documents were likewise included in Defendants’ document

production. 6

          Notably, Plaintiff’s motion does not contend that BOTDH failed to

provide the substantive information responsive to Interrogatories Nos.

2, 4, and 15 – nor could Plaintiff take such a position, since BOTDH

produced the documents containing the requested information. Rather,

5   See Defendants’ document production (Exhibit “B” hereto) at pages 22-30.
6   See Defendants’ document production (Exhibit “B” hereto) at pages 19-21.


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Plaintiff merely faults (and outrageously attempts to seek sanctions

against) BOTDH for the form of its responses, contending that BOTDH

should have provided a “narrative” summary of information in its

written responses, as opposed to producing the actual documents

containing the information requested.

       Plaintiff’s focus on form over substance is an abuse of the

discovery process, a waste of the Court’s time, and notably unsupported

by Plaintiff’s own cited authorities. For example, Perdue v. Gagnon

Farms. Inc., 65 P. 3d 570 (Mont. 2003), simply dealt with a party’s

obligation (under Montana state, not federal, law) to supplement prior

discovery responses. That case does not in any way support the

proposition that a party cannot produce documents in lieu of a narrative

interrogatory response. Further, Bayview Loan Servicing, LLC v.

Boland, 259 F.R.D. 516, 519 (D. Colo. 2009), actually supports

Defendants’ position here – insofar as the court recognized that “[a]

party may refer to records, as opposed to providing a narrative, if the

records are clearly identified.” 7 And that is precisely what BOTDH did

here when it clearly identified the documents – i.e., its prior initial


7 Plaintiff’s deceptive attempt to mischaracterize the import of his cited authorities should not be
countenanced by the Court.


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disclosures, its witness statements, and its financial accounting – that

were responsive to Interrogatories Nos. 2, 4, and 15.

      Interrogatory No. 5

      Interrogatory No. 5 asked BOTDH to “[d]escribe in detail the

organizational structure of BOTDH, including, but not limited to, (1)

the ownership of BOTDH, (2) the management structure of BOTDH, (3)

a list of other entities owned by BOTDH, (4) the employees of BOTDH,

and (4) the business purpose(s) of BOTDH.” In response, BOTDH

objected, including on the basis of relevance and overbreadth, and then

stated: “BOTDH is a Montana LLC with a single member: Make

Pictures, LLC.”

      Plaintiff’s Motion criticizes (and attempts to sanction) BOTDH for

its response, claiming that “Mr. Renner is entitled to know who

supervised who and who was responsible for what.” And yet,

Interrogatory No. 5 does not actually request any information

concerning supervision or responsibility in connection with Plaintiff’s

alleged assault or termination, nor is it clear how the incredibly broad

information sought by Interrogatory No. 5 would bear on that

information. To be clear, if Plaintiff wanted to know who was



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supervising Mr. Polish at the time of the alleged assault, or who was

responsible for Plaintiff’s alleged termination, Plaintiff could (and

should) have propounded an interrogatory specifically requesting that

information – or perhaps more efficiently, can inquire about this issue

during the upcoming depositions of Defendants. But instead, Plaintiff

broadly requested information that – by Plaintiff’s own lack of an

explanation – has no relevance to his actual claims in this action.

Indeed, what does BOTDH’s “management structure” or “business

purpose” have to do with whether Plaintiff was assaulted or wrongfully

terminated? Nothing whatsoever!

      Consequently, BOTDH’s objections were properly raised, and its

response identifying its ownership structure was sufficient. No further

response is necessary or appropriate.

      Interrogatory No. 10

      Interrogatory No. 10 asked BOTDH to “[d]escribe in detail all

steps, policies, and procedures, both formal and informal, that you

employ to ensure that your management, personnel and agents do not

present a risk of physical harm towards other individuals involved in

your filming projects.” In response, BOTDH objected, including on the



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bases of irrelevance and overbreadth, and then stated: “BOTDH took all

reasonable steps to ensure that no one involved in the subject

production incurred any risk of physical harm.”

      Critically, Plaintiff’s Motion does not even purport to explain the

relevance of this Interrogatory. Nor is it evident how BOTDH’s general

policies and procedures have anything to do with the specific dispute

here – i.e., whether or not Plaintiff was assaulted and/or wrongfully

terminated. Nor is it even clear what is being asked by this

Interrogatory; what does it mean to “ensure” that someone does not

“present a risk of physical harm towards other individuals”? Plaintiff’s

Motion does not provide this clarification (nor did Plaintiff provide any

such clarification during the meet and confer process). Hence,

BOTDH’s objections were well-founded.

      Notwithstanding its objections, BOTDH attempted in good faith to

provide a substantive response by construing Interrogatory No. 10 in a

reasonable and meaningful fashion – i.e., that Plaintiff was asking if

BOTDH took any steps to prevent harm to its employees. To the extent

that Plaintiff seeks more detailed information in this regard, such an




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inquiry would be better suited for the upcoming deposition of BOTDH’s

corporate designee.

      Interrogatories Nos. 11-13

      Interrogatories Nos. 11-13 asked BOTDH to describe the

“employment history” of three named individuals – Mr. Polish, Kyle

Crosby, and a “Stephan Bartlett” – including their “date of hire”

“qualifications and background,” “performance history,” “job duties,”

promotions,” and “any complaints (formal or informal) made against

[them].” In response to all three interrogatories, BOTDH objected on,

inter alia, irrelevance and overbreadth grounds. BOTDH further

objected to Interrogatory No. 12 on the truthful basis that it was

unaware of anyone named “Stephan Bartlett.”

      Once again, Plaintiff’s motion fails to substantiate the relevance of

these interrogatories. Nor is it clear how the requested information

concerning such topics as hiring dates, promotions, and job

qualifications has any logical bearing whatsoever on Plaintiff’s assault

and termination contentions. For example, how would the date when

Mr. Polish was hired impact the issue of whether he assaulted Plaintiff?

And how would Mr. Crosby’s job duties impact the issue of whether



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Plaintiff was wrongfully terminated? Hence, BOTDH’s objections were

appropriate.

       Plaintiff’s motion also brushes over the import of the fact that

Interrogatory No. 12 apparently sought information about BOTDH’s

employee Stephen Barrett, yet misspelled Mr. Barrett’s name as

“Stephan Bartlett.” Given that discovery responses are effectively

admissions to which the responding party is bound for the rest of a case,

BOTDH had no obligation to provide information about Mr. Barrett

when asked about a “Stephen Bartlett.” Nor has Plaintiff cited any

authority supporting such an obligation. And yet, even though Plaintiff

was well-aware of Mr. Barrett’s correct name – including due to the fact

that Mr. Barrett was named in Defendants’ initial disclosures –

Plaintiff now seeks to penalize (and sanction) BOTDH for declining to

correct Plaintiff’s own mistake when responding to Interrogatory No.

12.

       Notwithstanding its objections to Interrogatories Nos. 11 and 13,

BOTDH still provided a substantive response, stating that Mr. Polish

was “employed by BOTDH for the limited purpose of directing and

producing the subject project entitled Bring On The Dancing Horses”



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and “has a well-documented history of producing, writing and directing

successful projects,” and stating that Mr. Crosby “was employed by

BOTDH as the line producer of the project entitled Bring on the

Dancing Horses.”

          Further, in light of Plaintiff’s written clarification that

Interrogatory No. 12 was intended to pertain to Stephen Barrett,

BOTDH has now amended its response to state that “Mr. Barrett was

employed by BOTDH as production supervisor for the project entitled

Bring on the Dancing Horses.”8

          Plaintiff has failed to explain how any additional information,

beyond what was already stated by BOTDH in response to these

interrogatories, is relevant here. Consequently, there is no basis to

compel any further response to these interrogatories.

         MAKE PICTURES AND MICHAEL POLISH PROPERLY
            RESPONDED TO PLAINTIFF’S FIRST SET OF
                     INTERROGATORIES

          Plaintiff takes issue with Make Pictures’ responses to five of

Plaintiff’s interrogatories and Mr. Polish’s responses to three of the

interrogatories. However, as the subject interrogatories and responses



8   A copy of BOTDH’s amended interrogatory responses is attached hereto as Exhibit “D.”


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are for all intents and purposes identical to the interrogatories and

responses already discussed above with respect to BOTDH, and given

that Plaintiff’s position on these interrogatories is ostensibly the same

as for the above-discussed interrogatories (including Plaintiff’s failure

to substantiate the relevance of the interrogatories at issue), Make

Pictures and Mr. Polish simply incorporate the above-stated arguments

by reference in order to save the Court from having to re-read the exact

same arguments.

      For all the same reasons already stated above as to BOTDH, there

is no basis to compel any further responses from Make Pictures or Mr.

Polish.

          BOTDH PROPERLY RESPONDED TO PLAINTIFF’S
            FIRST SET OF REQUESTS FOR PRODUCTION

      Plaintiff takes issue with BOTDH’s responses to nine of Plaintiff’s

documents requests. The sufficiency of those responses is addressed

below:

      Requests for Production Nos. 1-4, 6, 8

      With respect to these six requests, Plaintiff’s only apparent gripe

is that BOTDH did not specifically identify which of the 14 documents

in its production were responsive to each of Plaintiffs’ requests.


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       Notably, however, Plaintiff has failed to cite any authority that

would have obligated BOTDH to engage in such a make-work exercise –

nor are Defendants aware of any such authority. Rather, the cases

cited by Plaintiff – all but one of which are from outside this jurisdiction

– addressed situations where (unlike here) a party had effectively

produced a “document dump,” forcing the receiving party to wade

through thousands and thousands of pages in order to locate responsive

documents. See Orchestrate HR, Inc. v. Trombetta, 178 F. Supp. 3d 476,

509 (N.D. Tex. 2016) (the defendant had improperly “refer[red] to a

voluminous amount of documents and implie[d] that there are

responsive documents in there somewhere.”); Stooksbury v. Ross, 528 F.

App'x 547, 550 (6th Cir. 2013) (“the near 40,000–page discovery

submission was an unresponsive ‘document dump’ that also failed to

include Bates stamp numbers as required”). 9 And even so, the court in

Cole v. Fed. Bureau of Investigations actually found that the defendants

there had “exceeded the requirements of meeting discovery obligations


9 In Cole v. Fed. Bureau of Investigations, 2019 WL 1904883, at *4 (D. Mont. Apr. 29, 2019) – the
court actually found that the defendants had “exceeded the requirements of meeting discovery
obligations by directing Plaintiffs to each and every document that Plaintiffs [had] claim[ed] to have
been omitted in the prior production.” And in Neale v. Coloplast Corp., 2020 WL 6948361, at *6
(E.D. Tenn. Nov. 2, 2020), the court declined to order the defendant to identify all of its responsive
documents by Bates-number, even though the defendant had produced thousands of pages of
documents.



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by directing Plaintiffs to each and every document that Plaintiffs [had]

claim[ed] to have been omitted in the prior production.” 2019 WL

1904883, at *4 (D. Mont. Apr. 29, 2019) (emphasis added). Likewise, in

Neale v. Coloplast Corp., the court declined to order the defendant to

identify all of its responsive documents by Bates-number, even though

the defendant had produced thousands of pages of documents. 2020 WL

6948361, at *6 (E.D. Tenn. Nov. 2, 2020). 10

          Here, in stark contrast to the cases cited by Plaintiff, Plaintiff

cannot credibly contend that the 14 documents produced by BOTDH

were somehow a “document dump.” Nor has Plaintiff explained how he

cannot independently ascertain the subject matter and relevance of the

14 documents produced by BOTDH. And if Plaintiff truly believes that

further information or clarification about the documents is necessary,

the most appropriate and efficient way to obtain that information is at

Defendants’ upcoming depositions.

          Request For Production No. 7

          Request No. 7, which sought “all documents related to the

organizational structure of BOTDH,” is objectionable for all the same



10   Again, Plaintiff’s mischaracterization of legal authority should not be countenanced.


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reasons already discussed above in connection with BOTDH’s response

to Plaintiff’s Interrogatory No. 5.

      In particular, while Plaintiff contends in his motion that he “is

entitled to know who supervised who and who was responsible for

what,” this request does not actually seek any documents that would

bear on those issues. Indeed, how does BOTDH’s organization structure

have any relevance to showing whether Plaintiff was assaulted or

improperly terminated? It does not.

      And in any event, the organizational structure of BOTDH was

already set forth in response to Interrogatory No. 5 – namely, that

“BOTDH is a Montana LLC with a single member: Make Pictures,

LLC.” Thus, this request was completely superfluous and unnecessary,

BOTDH’s objections were appropriate, and Plaintiff cannot seek to fault

(or sanction) BOTDH for its refusal to produce “all” of its documents

pertaining to its organizational structure. To the extent that the

organizational structure is even relevant (it is not), Plaintiff has already

been provided with that information through BOTDH’s response to

Interrogatory No. 5.




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          Requests For Production Nos. 9-10

          These two requests, in particular, underscore Plaintiff’s true

intent of trying to make Defendants jump through unnecessary hoops in

order to drive up their litigation costs. Specifically, while these

requests purport to seek information about BOTDH’s insurance policies,

Plaintiff was already apprised by Defendants’ initial disclosures that

BOTDH does not have coverage for the claims asserted in this action.

Indeed, as required under Federal Rule of Civil Procedure 26(a)(1)(A),

Defendants’ initial disclosures unequivocally stated as follows:

          “Defendants are not aware of any insurance agreement
          under which an insurance carrier may be liable to satisfy all
          or part of a possible judgement in the action or to indemnify
          or reimburse for payments made to satisfy the judgment.” 11

In light of this statement in Defendants’ initial disclosures, there was

no bona fide basis for Plaintiff to seek documents concerning BOTDH’s

insurance policies. Nor was it proper for Plaintiff to broadly request

copies of all communications between BOTDH and its insurance carrier

– irrespective of whether such communications even pertained to the

matters at issue in this case. Consequently, BOTDH’s objections

(including on the basis of irrelevance and overbreadth) were

11   See Exhibit “C” hereto at p. 5.


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appropriate, and Plaintiff’s attempt to seek sanctions against BOTDH

as a result is, quite frankly, offensive. In essence, Plaintiff is

attempting to penalize BOTDH for Plaintiff’s own apparent failure to

carefully review Defendants’ initial disclosures.

   MAKE PICTURES AND MICHAEL POLISH PROPERLY
RESPONDED TO PLAINTIFF’S FIRST SET OF REQUESTS FOR
                  PRODUCTION

      While Plaintiff takes issue with nine of Make Pictures’ responses

to Plaintiff’s document requests and nine of Mr. Polish’s responses, all

but one of the subject requests are effectively identical to the requests

already discussed above with respect to BOTDH. Accordingly, Make

Pictures and Mr. Polish once again incorporate the above-stated

arguments by reference in order to save the Court from having to re-

read the exact same arguments, and submit that no basis exists to

compel further responses as to those requests.

      The only document request that was not already discussed above

is Request No. 10 to Mr. Polish. That request is discussed below.

      Request For Production No. 10 to Michael Polish

      While this Request purported to broadly seek “all complaints and

criminal charges filed against you within the past ten years,” the true



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intent of the request is evident from Plaintiff’s motion, in which

Plaintiff admits unequivocally that this request was intended to obtain

documents showing “Mr. Polish’s history of violence.” Of course, even

looking past the fact that Mr. Polish has no such history of violence, the

Federal Rules of Evidence expressly prohibit Plaintiff from using

“evidence of any other crime, wrong, or act” to prove Mr. Polish’s

character “in order to show that on a particular occasion [Mr. Polish]

acted in accordance with the character.” See Fed. R. Ev. 404.

Consequently, the type of documents that Plaintiff admittedly sought

through this Request, even if they existed (they do not), would be

sought for an improper and inadmissible purpose. Hence, Mr. Polish’s

objections.

          Nonetheless, in order to put the issue of Mr. Polish’s alleged

history of violence to rest, Mr. Polish has now amended his response to

this request to clarify that “no criminal charges have been filed against

Mr. Polish in the past 10 years, nor has Mr. Polish been accused of any

violent act during that time period (other than Plaintiff’s disputed

allegation in this action).”12



12   A copy of Mr. Polish’s amended response is attached hereto as Exhibit “E.”


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                                 CONCLUSION

      WHEREFORE, for all the reasons stated above, Defendants

hereby respectfully submit that Plaintiff’s motion should be denied.

Further, pursuant to Federal Rule of Civil Procedure 37(a)(5),

Defendants respectfully submit that Plaintiff and his counsel should

jointly and severally be ordered to pay Defendants their reasonable

attorneys’ fees incurred in opposing Plaintiff’s motion. Pursuant to

Section 5 of the Court’s Scheduling Order, the total amount of those fees

(not including any fees incurred in connection with the hearing on

Plaintiff’s motion) is set forth in the concurrently filed Affidavit of

Matthew A. McKeon.

      DATED this 24th day of September, 2021.

                        DATSOPOULOS, MACDONALD & LIND, P.C.


                        By: /s/ Matthew A. McKeon
                             Matthew A. McKeon
                             Attorney for Defendants




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                   CERTIFICATE OF COMPLIANCE

      Pursuant to D. Mont. L.R. 7.1(d)(2), I certify that:

      This brief complies with the type-volume limitation of D. Mont.

L.R. 7.1(d)(2) because this brief contains 3,961 words, excluding the

parts of the brief exempted by D. Mont. L.R. 7.1(d)(2)(E).

      This brief has been prepared in a proportionately spaced typeface

using Microsoft Word Century Schoolbook 14-point font.

      DATED this 24th day of September, 2021.

                        DATSOPOULOS, MACDONALD & LIND, P.C.


                        By: /s/ Matthew A. McKeon
                             Matthew A. McKeon
                             Attorney for Defendants




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                      CERTIFICATE OF SERVICE
                             L.R. 5.2(b)

     I, Matthew A. McKeon, attorney for Defendant, hereby certifies
that a copy of the DEFENDANTS’ OPPOSITION TO MOTION TO
COMPEL was served on these persons by the following means this 24th
day of September, 2021:

      1, 2, 3 CM/ECF

      1.    Clerk, U.S. District Court

      2.    Veronica A. Procter
            PROCTER LAW, PLLC
            2718 Montana Avenue, Suite 200
            P.O Box 782
            Billings, Montana 59103
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            Los Angeles, California 90048
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            Email: gallred@amglaw.com; mspiegel@amglaw.com;
            blau@amglaw.com

      DATED this 24th day of September, 2021.

                        DATSOPOULOS, MACDONALD & LIND, P.C.


                        By: /s/ Matthew A. McKeon
                             Matthew A. McKeon
                             Attorney for Defendants




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